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                                                                                              Apr 25 2025



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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA




HIRAN RODRIGUEZ,                                          CIVIL ACTION
                                                          NO. 2;25-cv-00197
PLAINTIFF, appearing sui juris and pro se                 JUDGE JAY. C ZAINEY
V.                                                        MAGISTRATE JUDGE
                                                          DONNA PHILLIPS CURRAULT
META PLATFORMS, INC., ETAL                                SECTION A - DIVISION 2

DEFENDANTS.
                                                          JURY TRIAL REQUESTED



      MOTION TO VACATE REPORT AND RECOMMENDATION (REC. DOC. 137)



I. INTRODUCTION


NOW INTO COURT, comes Plaintiff HIRAN RODRIGUEZ, appearing pro se and sui juris.

who respectfully moves this Honorable Court to VACATE the Report and Recommendation

entered on April 10, 2025 (Rec. Doc. 137), which recommended wholesale dismissal of

Plaintiffs constitutional claims. The Report was issued prematurely, with retaUatoiy timing, and

without addressing or adjudicating any of.Plaintiff sjiisppsitiye motions (Rec. Docs. 114-136),    -

Rule 26 Disclosure (Rec. Doc. 136), or forensic declarations and exhibits (Rec. Docs. 140-144).
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U. PROCEDURAL MISCONDUCT AND RETALIATORY TEVDNG


The Report and Recommendation (Rec. Doc. 137) was formally signed on April 9,2025, and

entered into the record on April 10, 2025. However, Plaintiff had filed his Rule 26 Disclosure

and Verified Statement of Digital Harm (Rec. Doc. 136) on April 6, 2025-well in advance of the

Report. The Report was issued just hours before the filing of Plaintiffs sworn forensic

declarations and evidentiary exhibits (Rec. Docs. 140-144), which were prepared and submitted

via the Court's EDSS system on April 10,2025, before close of day.



At the time Rec. Doc. 137 was issued, the following matters remained pending, unresolved, and

undocketed in part:

- Rec. Doc. 114 - Notice of Default Obstruction and Judicial Misconduct


- Rec. Doc. 117 - Motion for Entry of Default (denied by Clerk witliout hearing)

- Rec. Doc. 130 - Motion for Reconsideration of Denial of Enhy of Default


- Rec. Doc. 132 - Response in Opposition to Motion to Compel Arbitration

- Rec. Doc. 136 - Rule 26 Disclosure and Sworn Statement of Digital Harm and Infiingement

- Rec. Docs. 140-144 - Forensic Exhibits filed under Rule 902(11), supporting Plaintiffs


allegations of surveillance, behavioral telemetry abuse, and enterprise misconduct



Further, on April 17, 2025, Plaintiff submitted EXHIBIT A and EXHIBIT B via EDSS,

documenting public facility surveillance, government contracting, and retaliation tied to railroad

infrastracture and emergency services. These were never docketed, despite confirmed EDSS

receipts and compliance with Local Rules. Their omission constitutes procedural suppression of

evidence, prejudicing Plaintiffs right to be heard under the Seventh and Fiftli Amendments.




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The timing of the Report-issued after Plaintiffs Rule 26 Disclosure, but immediately before key

forensic and evidentiary submissions-reflects a pattern of procediual retaliation and calculated

preclusion. The Magistrate's failure to address a single pending motion, while recommending

wholesale dismissal, gives rise to a reasonable inference of bias, predetermination, and

retaliatory motive.




ffl. LEGAL .GROUNDS FOR VACATUR UNDER RULE 60(h) AND 28 U.S.C. § 455

Plaintiff invokes Rule 60(b) for legal error, surprise, and newly discovered evidence. The Report

constitutes:


- Rule 60(b)(1): error in law and procedure

- Rule 60(b)(2): failure to consider forensic evidence (Rec. Docs. 140-144)

- Rule 60(b)(3): misconduct and obstruction

- Rule 60(b)(6): cumulative prejudice justifies vacatur



Under 28 U.S.C. § 455, the timing, failure to adjudicate pending filings, and suppression of

filings support a reasonable appearance of bias and require disqualification.



IV. PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

1. VACATE the Report and Recommendation (Rec. Doc. 137);

2. REVIEW all pending and undocketed filings on the merits;

3. PRESERVE Plaintiffs claims under the U.S. Constitution, ECPA, CFAA, and RICO;

4, GRANT all relief in law or equity to prevent ongoing prejudice.




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Respectfully submitted, tbis 19th day of April, 2025.


   a

hi HIRAN RODRIGUEZ


HIRAN RODRIGUEZ, SUIJURIS

Pro Se Plaintiff

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Without Prejudice - Without Recourse

Preserving Al! Claims for Judicial Misconduct, Procedural Irregularity, and Constitutional

Injury under 28 U.S.C. §§ 144,455, and 351; and reserving all rights to appeal, object, and

seek sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.




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                              CERTIFICATE OF SERVICE




I hereby certify that the foregoing Motion to Vacate Report and Recommendation (Rec. Doc.

137) was submitted via the Court’s Electronic Document Submission System (EDSS) for the

United States District Court for the Eastern District of Louisiana, and transmitted to all registered


counsel of record on this date. This service complies with all applicable rules under the Federal

Rules of Civil Procedure and the Local Rules of the Eastern District of Louisiana.




Executed on this 19th day of April, 2025.


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/s/HIRAN RODRIGUEZ


fflRAN RODRIGUEZ, SUIJURIS

Pro Se Plaintiff

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